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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

MAX ORTEGA III,

            Plaintiff,

                                                             Case No: 1:21-cv-00728 RB-JHR
WILLIAM EDGMAN,
LOUISE LOPEZ,
NEW MEXICO CORRECTIONS
DEPARTMENT, and DOES (1-50),

            Defendants.

                                CERTIFICATE OF SERVICE

       It is hereby certified that a true and correct copy of Defendant Luis Lopez’s First

Supplemental Initial Disclosures, along with documents bates numbered NMCD_00001-01562

were served, along with a copy of this Certificate of Service, to the following via electronic file

share transmission and CM/ECF this 14th day of July, 2022:


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       —and —

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                                      Respectfully Submitted,


                                      SUTIN, THAYER & BROWNE

                                      By:    /s/ Mariposa Padilla Sivage
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